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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 NORTHERN DIVISION

JAMES SPEARS, JR.                                                                   PLAINTIFF
ADC #122695

v.                               CASE NO.: 3:22-CV-69-DPM

JENNIFER (EPHLIN) LONG, Former
Shift Supervisor, Osceola Police
Department; CHRIS VAUGHN, Former
Officer, Osceola Police Department;
and DAKOTA DUNCAN, Former Officer,
Osceola Police Department                                                         DEFENDANTS

                         MOTION TO WITHDRAW AS ATTORNEY

       COME NOW Separate Defendants, Jennifer (Ephlin) Long and Chris Vaughn, each in their

individual capacities, by and through their counsel, Sarah Cowan, and for this Motion to Withdraw

as Attorney, state:

       1.       Legal representation for Separate Defendants Long and Vaughn is provided

through the Municipal Legal Defense Program of the Arkansas Municipal League.

       2.       Undersigned counsel, Sarah Cowan, is currently counsel of record for Separate

Defendants Long and Vaughn, each in their individual capacities.

       3.       M. Keith Wren, an attorney with the Arkansas Municipal League, has entered his

appearance in this matter on behalf of Separate Defendants Long and Vaughn, each in their

individual capacities, and from this point forward, Mr. Wren will serve as lead counsel for Separate

Defendants Long and Vaughn.

       4.       Reasonable steps have been taken to avoid foreseeable prejudice to the rights of the

clients, and all papers and property are available to the clients upon request.

       5.       No fees are due or owing.



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       6.       Separate Defendants Long and Vaughn will be adequately represented in this matter

by Mr. Wren.

       7.       For the foregoing reasons and for good cause shown, undersigned counsel

respectfully requests that she be allowed to withdraw as counsel in this matter.

       WHEREFORE, undersigned counsel respectfully requests that this Court grant this Motion

to Withdraw as Attorney.

                                                       Respectfully submitted,
                                                       Jennifer (Ephlin) Long and Chris Vaughn,
                                                       each in their individual capacities
                                                       SEPARATE DEFENDANTS

                                               BY:     Sarah Cowan, Ark. Bar No. 2013182
                                                       Attorney for Separate Defendants
                                                       P.O. Box 38
                                                       North Little Rock, AR 72115
                                                       Tel: 501-978-6117
                                                       Fax: 501-712-1598
                                                       scowan@arml.org




                                  CERTIFICATE OF SERVICE

         I, Sarah Cowan, hereby certify that on March 6, 2024, I placed a copy of the foregoing
filing in the U.S. Mail to all participants listed below, via Certified Mail, Return Receipt requested:

       James Spears, ADC #122695
       Varner Supermax
       320 Hwy. 388
       Gould, AR 71643

                                               /s/ Sarah Cowan
                                               Sarah Cowan, Ark. Bar No. 2013182




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